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               EXHIBIT 1
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Golden State Concessions
500 Diamond Drive, Lake Elsinore, CA 92530
951.245.2287




2019-NOV                                                                             11/2/2019- 11/3/2019

BILL TO                     SHIP TO                        INSTRUCTIONS
Tough Mudder Event          Same as recipient
Production Inc
15 MetroTech Center, 7th
Floor
Brooklyn, NY
11201


QUANTITY               DESCRIPTION                                               UNIT PRICE        TOTAL

7,490                  Wrist Bands                                                        $2      $14,980

508                    VIP Tokens                                                         $4       $2,032



                                                           SUBTOTAL                                $17,012

                                                           SALES TAX                              $1,318.43



                                                                                                 $18,330.43
                                                           TOTAL DUE BY DATE




                                                           Thank you for your business!
